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                 4                                 UNITED STATES DISTRICT COURT
                 5                                        DISTRICT OF NEVADA
                 6                                                    ***
                 7       UNITED STATES OF AMERICA,                              Case No. 2:02-CR-674 JCM (NJK)
                 8                                            Plaintiff(s),                      ORDER
                 9              v.
               10        GUO JUN XU, et al.,
               11                                           Defendant(s).
               12
               13              Presently before the court is the briefing schedule discussed during the April 19, 2017,
               14       status conference regarding the resentencing of defendants Chao Fan Xu, Guo Jun Xu, Wan Fang
               15       Kuang, and Ying Yi Yu.
               16              Accordingly,
               17              IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the parties’ opening
               18       briefs shall be submitted by Thursday, June 15, 2017.
               19              IT IS FURTHER ORDERED that the parties’ answering briefs shall be submitted by
               20       Monday, July 17, 2017.
               21              IT IS FURTHER ORDERED that a revised presentence report be prepared and circulated
               22       to these defendants and the court by Monday, July 17, 2017.
               23              IT IS FUTHER ORDERED that objections to the revised presentence report are due by
               24       Monday, August 7, 2017.
               25       ...
               26       ...
               27       ...
               28       ...

James C. Mahan
U.S. District Judge
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                1              IT IS FURTHER ORDERED that the resentencing of defendants Chao Fan Xu, Guo Jun
                2       Xu, Wan Fang Kuang, and Ying Yi Yu is set for Monday, August 14, 2017, in courtroom 6A at
                3       10:00 a.m.
                4              DATED April 21, 2017.
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                6                                                __________________________________________
                                                                 UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                               -2-
